           Case 2:16-cv-01702-JVM Document 28 Filed 09/14/16 Page 1 of 7




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


 TYRONE JUDE WHITTINGTON                                                                      CIVIL ACTION

 VERSUS                                                                                             NO. 16-1702

 NEWELL NORMAND, ET AL.                                                                      SECTION: “J”(1)


                          PARTIAL REPORT AND RECOMMENDATION

         Plaintiff, Tyrone Jude Whittington, a state pretrial detainee, filed the instant pro se and in

forma pauperis complaint pursuant to 42 U.S.C. § 1983. He named the following defendants:

Jefferson Parish Sheriff Newell Normand; Deputy Chief Sue Ellen Monfra; Lieutenant Aaron

Wilkie; Major Ed Olsen; Deputy Bryan Bordelon; Deputy Dennis Robertson; Sergeant Timothy

Berrian; Deputy Allen Flettrich; Deputy Gregory Donald; Sergeant Martha Ennis; Sergeant Brenda

Lee; “Correcthealth”; “Correcthealth Psychiatric”; “J.P.C.C. Social Worker Jackie”; Carl Preyer;

Gary Cook; S. Abadie; S. Carter; and the State of Louisiana. 1 In this lawsuit, plaintiff asserts

various claims challenging the conditions of his confinement at the Jefferson Parish Correctional

Center. 2 However, for the following reasons, the undersigned recommends that the claims against

“Correcthealth,” “Correcthealth Psychiatric,” and the State of Louisiana be dismissed. 3




1
  Cook, Abadie, Carter, and the State of Louisiana were identified as defendants in plaintiff’s original “Petition for
Housing Transfer,” which was construed as a deficient federal civil rights complaint. Rec. Docs. 1, p. 8, and 4-2, p.
8. When plaintiff filed subsequently filed a proper complaint, those defendants were no longer listed. However, out
of an abundance of caution, the undersigned considers them to remain as defendants herein.
2
  After filing this lawsuit, plaintiff was transferred to the Richwood Correctional Center in Richwood, Louisiana,
where he currently remains incarcerated. Rec. Doc. 11.
3
  This Partial Report and Recommendation does not address the claims against defendants Normand, Monfra, Wilkie,
Olsen, Bordelon, Robertson, Berrian, Flettrich, Donald, Ennis, Lee, “J.P.C.C. Social Worker Jackie,” Preyer, Cook,
Abadie, and Carter. Those claims should be allowed to proceed pending further development.
           Case 2:16-cv-01702-JVM Document 28 Filed 09/14/16 Page 2 of 7




                                     Motion for Summary Judgment

        Correcthealth Jefferson, LLC (hereinafter “Correcthealth”) filed a motion to dismiss

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. 4 However, because that motion

presented matters outside of the complaint for the Court’s consideration, the parties were notified

that the motion would be treated as one for summary judgment pursuant to Rule 56. 5 See Fed. R.

Civ. P. 12(d). Plaintiff has opposed the motion. 6

        In reviewing a motion for summary judgment, the Court may grant the motion when no

genuine issue of material fact exists and the mover is entitled to judgment as a matter of law. Fed.

R. Civ. P. 56(c). There is no “genuine issue” when the record taken as a whole could not lead a

rational trier of fact to find for the nonmovant. Matsushita Electric Industrial Co., Ltd. v. Zenith

Radio Corp., 475 U.S. 574, 587 (1986).

        “Procedurally, the party moving for summary judgment bears the initial burden of

informing the district court of the basis for its motion, and identifying those portions of the record

which it believes demonstrate the absence of a genuine issue of material fact.” Taita Chemical

Co., Ltd. v. Westlake Styrene Corp., 246 F.3d 377, 385 (5th Cir. 2001) (quotation marks and

brackets omitted). The party opposing summary judgment must then “go beyond the pleadings

and by [his] own affidavits, or by the ‘depositions, answers to interrogatories, and admissions on

file,’ designate ‘specific facts showing that there is a genuine issue for trial.’” Celotex Corp. v.

Catrett, 477 U.S. 317, 324 (1986) (quoting Fed. R. Civ. P. 56); accord Provident Life and Accident

Ins. Co. v. Goel, 274 F.3d 984, 991 (5th Cir. 2001). The Court has no duty to search the record


4
  Rec. Doc. 19. Correcthealth Jefferson, LLC, is the correct name of the improperly identified “Correcthealth” and
“Correcthealth Psychiatric” named as defendants in the complaint.
5
  Rec. Doc. 20.
6
  Rec. Doc. 21.


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            Case 2:16-cv-01702-JVM Document 28 Filed 09/14/16 Page 3 of 7




for evidence to support a party’s opposition to summary judgment; rather, “[t]he party opposing

summary judgment is required to identify specific evidence in the record and to articulate the

precise manner in which the evidence supports his or her claim.” Ragas v. Tennessee Gas Pipeline

Co., 136 F.3d 455, 458 (5th Cir. 1998). Conclusory statements, speculation, and unsubstantiated

assertions are not competent summary judgment evidence and will not suffice to defeat a properly

supported motion for summary judgment. Id.; Douglass v. United Services Auto. Ass’n, 79 F.3d

1415, 1429 (5th Cir. 1996).

         In this lawsuit, plaintiff asserts three claims in which he complains about the purported

inadequacy of the medical treatment provided by Correcthealth and its employees:

         (1)       “Correcthealth denied plaintiff medical diagnosis, and/or medicine after having

                   liquid bodily waste thrown/projected into his pore (such as urine, spit, feces, blood,

                   semen, etc.) in use as a weapon.” 7

         (2)       “J.P.C.C./Correcthealth social worker Ms. Jackie denied/refused to allow, or refer

                   Whittington to Correcthealth Psychiatric.        Further, Correcthealth refused to

                   medically treat Whittington for his mental illness. In addition, Correcthealth

                   refused to retrieve Plaintiff mental-health records from outside of [the] facility.” 8

         (3)       “Correcthealth refuse to provide Plaintiff with sufficient dental treatment, such as:

                   root-canal, fillings, temporary fillings, etc. Consequently, Plaintiff suffered from a

                   broken tooth, teeth and gums infection that spread with contamination and hollow

                   holes causing excruciating pain.” 9


7
  Rec. Doc. 4, p. 6.
8
  Id. at pp. 6-7.
9
  Id. at p. 7.


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          Case 2:16-cv-01702-JVM Document 28 Filed 09/14/16 Page 4 of 7




        In its motion, Correcthealth concedes that it qualifies as a “state actor” under § 1983 despite

the fact that it is a private entity. That is correct. Grandpre v. Correct Health, Civ. Action No. 16-

1543, 2016 WL 4539442, at *8 (E.D. La. Aug. 29, 2016 (Roby, M.J.) (“The Court first recognizes

that CorrectHealth is the private corporation contracted to operate the medical services within

JPCC, and the company and its employees are subject to liability as state actors under § 1983.”);

see Shadrick v. Hopkins County, Kentucky, 805 F.3d 724, 736 (6th Cir. 2015) (“[P]rivate

corporations performing traditional state functions, such as the provision of medical services to

prison inmates, act under color of state law for purposes of § 1983.”); see also West v. Atkins, 487

U.S. 42, 54 (1988) (“Respondent, as a physician employed by North Carolina to provide medical

services to state prison inmates, acted under color of state law for purposes of § 1983 when

undertaking his duties in treating petitioner’s injury. Such conduct is fairly attributable to the

State.”); Bishop v. Karney, 408 Fed. App’x 846, 848 (5th Cir. 2011) (“A private doctor under

contract with a state prison to provide medical care to prisoners is considered a state actor because

his action in providing medical care to prisoners is fairly attributable to the state.”).

        However, Correcthealth argues that the claim against it should nevertheless be dismissed

because plaintiff is attempting to hold the corporation liable for the actions or inactions of its

employees based on a theory of respondeat superior. Again, that is correct. It is beyond cavil that

a § 1983 claim cannot be based on the theory of respondeat superior. See Oliver v. Scott, 276

F.3d 736, 742 (5th Cir. 2002) (“Section 1983 does not create supervisory or respondeat superior

liability.”); Thompkins v. Belt, 828 F.2d 298, 303 (5th Cir. 1987) (“Under section 1983,

supervisory officials are not liable for the actions of subordinates on any theory of vicarious

liability.”); see also Grandpre, 2016 WL 4539442, at *8 (“Grandpre seeks to hold CorrectHealth



                                                   4
          Case 2:16-cv-01702-JVM Document 28 Filed 09/14/16 Page 5 of 7




liable based on a theory of vicarious liability, which simply is not allowed in an action filed

pursuant to § 1983.”); Easter v. Lafourche Parish Sheriff’s Office, Civ. Action No. 13-5797, 2014

WL 3687239, at *3 (E.D. La. July 23, 2014) (“As to CorrectHealth, the private corporation which

operates the jail’s medical department, plaintiff failed to state a nonfrivolous claim against that

defendant. Even if a cognizable claim could be stated against CorrectHealth in some

circumstances, this is not among them. At best, plaintiff appears to be attempting to hold

CorrectHealth liable based on a theory of vicarious liability, which simply is not allowed in an

action filed pursuant to 42 U.S.C. § 1983.”); Sears ex rel. Sears v. Lee, Civ. Action No. 08-3418,

2010 WL 324385, at *5 (E.D. La. Jan. 20, 2010) (“Plaintiff alone infers a broad custom or policy

from an isolated incident or simply assumes, based on the severity of Patrick’s injuries, that an

unconstitutional policy must be at fault. Without a more concrete causal connection between

CorrectHealth and the actions of its employees, Plaintiff’s claim too closely mirrors simple

vicarious liability which is unsustainable in this § 1983 action.”).

       Because Correcthealth cannot be held vicariously liable for its employees and because

plaintiff has not alleged any other basis on which the corporation itself violated his rights, such as

by adopting a constitutionally deficient custom, policy, or practice which resulted in his injuries,

plaintiff has failed to state a claim against Correcthealth. Therefore, the § 1983 claims against

Correcthealth should be dismissed without prejudice. Suffal v. Parish, Civ. Action No. 14-2478,

2015 WL 631452, at *3 (E.D. La. Feb. 13, 2015).

                                      Eleventh Amendment

       In addition, the Court notes that plaintiff has also named the State of Louisiana as a

defendant in this lawsuit. However, any claims against the State of Louisiana are clearly prohibited



                                                  5
         Case 2:16-cv-01702-JVM Document 28 Filed 09/14/16 Page 6 of 7




by the Eleventh Amendment. Unless a state has waived its immunity, the Eleventh Amendment

bars the state’s citizens from filing suit against the state in federal court for either monetary

damages or injunctive relief. Cozzo v. Tangipahoa Parish Council-President Government, 279

F.3d 273, 280 (5th Cir. 2002); Tyson v. Reed, Civ. Action No. 09-7619, 2010 WL 360362, at *3

(E.D. La. Jan. 21, 2010). Moreover, as the United States Fifth Circuit Court of Appeals has noted:

       By statute, Louisiana has refused any such waiver of its Eleventh Amendment
       sovereign immunity regarding suits in federal court. See La.Rev. Stat.Ann. §
       13:5106(A).
               Furthermore, Congress may only abrogate a state’s Eleventh Amendment
       immunity by unequivocally expressing its intent to do so and by acting pursuant to
       a valid exercise of power. We note that in enacting § 1983, Congress did not
       explicitly and by clear language indicate on its face an intent to sweep away the
       immunity of the States.

Cozzo, 279 F.3d at 281 (quotation marks and citations omitted). Accordingly, the claims against

the State of Louisiana should be dismissed without prejudice pursuant to the Eleventh Amendment

for lack of jurisdiction. See Warnock v. Pecos County, Texas, 88 F.3d 341, 343 (5th Cir. 1996);

Maize v. Correct Health Jefferson, L.L.C., Civ. Action No. 13-5925, 2013 WL 6490549, at *3

(E.D. La. Dec. 10, 2013); Newson v. Alford, Civ. Action No. 09-6595, 2009 WL 4799146, at *2

(E.D. La. Dec. 4, 2009); Tyson v. Tanner, Civ. Action No. 08-4445, 2009 WL 2899815, at *7

(E.D. La. Aug. 31, 2009).

                                    RECOMMENDATION

       It is therefore RECOMMENDED that the motion filed by Correcthealth Jefferson, LCC,

Rec. Doc. 19, be GRANTED and that the claims against that defendant be DISMISSED

WITHOUT PREJUDICE.




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          Case 2:16-cv-01702-JVM Document 28 Filed 09/14/16 Page 7 of 7




        It is FURTHER RECOMMENDED that that plaintiff’s claims against the State of

Louisiana be DISMISSED WITHOUT PREJUDICE pursuant to the Eleventh Amendment for

lack of jurisdiction.

        A party’s failure to file written objections to the proposed findings, conclusions, and

recommendation in a magistrate judge’s report and recommendation within fourteen (14) days

after being served with a copy shall bar that party, except upon grounds of plain error, from

attacking on appeal the unobjected-to proposed factual findings and legal conclusions accepted by

the district court, provided that the party has been served with notice that such consequences will

result from a failure to object. 28 U.S.C. § 636(b)(1); Douglass v. United Services Auto. Ass’n,

79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

        New Orleans, Louisiana, this fourteenth day of September, 2016.




                                             __________________________________________
                                             JANIS VAN MEERVELD
                                             UNITED STATES MAGISTRATE JUDGE




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